Case: 3:20-cv-50153 Document #: 1-1 Filed: 04/30/20 Page 1 of 10 PageID #:34




             Exhibit A – Executive Order 2020-10
4/29/2020          Case: 3:20-cv-50153 Document #:Executive
                                                   1-1 Filed:     04/30/20
                                                            Order 2020-10          Page 2 of 10 PageID #:35
                                                                          - Illinois.gov


    View up to date information on how Illinois is handling the Coronavirus                                  ×
   Disease 2019 (COVID-19) from the State of Illinois Coronavirus Response Site
   (https://coronavirus.illinois.gov/)



    Illinois.gov (/)

   Executive Order 2020-10
   March 20, 2020
                                                                                    EXECUTIVE ORDER 2020-10



                                        EXECUTIVE ORDER IN RESPONSE TO COVID-19
                                                  (COVID-19 EXECUTIVE ORDER NO. 8)

   WHEREAS, I, JB Pritzker, Governor of Illinois, declared all counties in the State of Illinois as a
   disaster area on March 9, 2020 (Gubernatorial Disaster Proclamation) in response to the outbreak of
   Coronavirus Disease 2019 (COVID-19 (Coronavirus Disease 2019)); and,

   WHEREAS, in a short period of time, COVID-19 (Coronavirus Disease 2019) has rapidly spread
   throughout Illinois, necessitating updated and more stringent guidance from federal, state, and local
   public health officials; and,

   WHEREAS, for the preservation of public health and safety throughout the entire State of Illinois,
   and to ensure that our healthcare delivery system is capable of serving those who are sick, I find it
   necessary to take additional measures consistent with public health guidance to slow and stop the
   spread of COVID-19 (Coronavirus Disease 2019);

   WHEREAS, COVID-19 (Coronavirus Disease 2019) has resulted in significant economic impact,
   including loss of income and wages, that threaten to undermine housing security and stability;

   WHEREAS, the enforcement of eviction orders for residential premises is contrary to the interest of
   preserving public health and ensuring that individuals remain in their homes during this public health
   emergency;

   THEREFORE, by the powers vested in me as the Governor of the State of Illinois, and pursuant to
   Sections 7(1), 7(2), 7(8), 7(10), and 7(12) of the Illinois Emergency Management Agency Act, 20
   ILCS (Illinois Compiled Statutes) 3305, and consistent with the powers in public health laws, I
   hereby order the following, effective March 21, 2020 at 5:00 pm and for the remainder of the
   duration of the Gubernatorial Disaster Proclamation, which currently extends through April 7, 2020:

   Section 1. Stay at Home; Social Distancing Requirements; and Essential Businesses and
   Operations
https://www2.illinois.gov/Pages/Executive-Orders/ExecutiveOrder2020-10.aspx                                       1/12
4/29/2020       Case: 3:20-cv-50153 Document #:Executive
                                                       1-1 Filed:   04/30/20
                                                              Order 2020-10          Page 3 of 10 PageID #:36
                                                                            - Illinois.gov

        1. Stay at home or place of residence. With exceptions as outlined below, all individuals
           currently living within the State of Illinois are ordered to stay at home or at their place of
           residence except as allowed in this Executive Order. To the extent individuals are using shared
           or outdoor spaces when outside their residence, they must at all times and as much as
           reasonably possible maintain social distancing of at least six feet from any other person,
           consistent with the Social Distancing Requirements set forth in this Executive Order. All
           persons may leave their homes or place of residence only for Essential Activities, Essential
           Governmental Functions, or to operate Essential Businesses and Operations, all as defined
           below.
           Individuals experiencing homelessness are exempt from this directive, but are strongly urged
           to obtain shelter, and governmental and other entities are strongly urged to make such shelter
           available as soon as possible and to the maximum extent practicable (and to use in their
           operation COVID-19 (Coronavirus Disease 2019) risk mitigation practices recommended by
           the U.S. Centers for Disease Control and Prevention (CDC (Centers for Disease Control and
           Prevention)) and the Illinois Department of Public Health (IDPH (Illinois Department of Public
           Health))). Individuals whose residences are unsafe or become unsafe, such as victims of
           domestic violence, are permitted and urged to leave their home and stay at a safe alternative
           location. For purposes of this Executive Order, homes or residences include hotels, motels,
           shared rental units, shelters, and similar facilities.
        2. Non-essential business and operations must cease. All businesses and operations in the
           State, except Essential Businesses and Operations as defined below, are required to cease all
           activities within the State except Minimum Basic Operations, as defined below. For clarity,
           businesses may also continue operations consisting exclusively of employees or contractors
           performing activities at their own residences (i.e., working from home).
           All Essential Businesses and Operations are encouraged to remain open. To the greatest
           extent feasible, Essential Businesses and Operations shall comply with Social Distancing
           Requirements as defined in this Executive Order, including by maintaining six-foot social
           distancing for both employees and members of the public at all times, including, but not limited
           to, when any customers are standing in line.
        3. Prohibited activities. All public and private gatherings of any number of people occurring
           outside a single household or living unit are prohibited, except for the limited purposes
           permitted by this Executive Order. Pursuant to current guidance from the CDC (Centers for
           Disease Control and Prevention), any gathering of more than ten people is prohibited unless
           exempted by this Executive Order. Nothing in this Executive Order prohibits the gathering of
           members of a household or residence.
           All places of public amusement, whether indoors or outdoors, including but not limited to,
           locations with amusement rides, carnivals, amusement parks, water parks, aquariums, zoos,
           museums, arcades, fairs, children’s play centers, playgrounds, funplexes, theme parks,
           bowling alleys, movie and other theaters, concert and music halls, and country clubs or social
           clubs shall be closed to the public.
           This Executive Order supersedes Section 2 of Executive Order 2020-07 (COVID-19
           (Coronavirus Disease 2019) Executive Order No. 5), which prohibited gatherings of 50 people
           or more.


https://www2.illinois.gov/Pages/Executive-Orders/ExecutiveOrder2020-10.aspx                                 2/12
4/29/2020         Case: 3:20-cv-50153 Document #:Executive
                                                         1-1 Filed:  04/30/20
                                                               Order 2020-10          Page 4 of 10 PageID #:37
                                                                             - Illinois.gov

        4.   Prohibited and permitted travel. All travel, including, but not limited to, travel by automobile,
             motorcycle, scooter, bicycle, train, plane, or public transit, except Essential Travel and
             Essential Activities as defined herein, is prohibited. People riding on public transit must comply
             with Social Distancing Requirements to the greatest extent feasible. This Executive Order
             allows travel into or out of the State to maintain Essential Businesses and Operations and
             Minimum Basic Operations.
        5.   Leaving the home for essential activities is permitted. For purposes of this Executive
             Order, individuals may leave their residence only to perform any of the following Essential
             Activities:
                 a. For health and safety. To engage in activities or perform tasks essential to their health
                    and safety, or to the health and safety of their family or household members (including,
                    but not limited to, pets), such as, by way of example only and without limitation, seeking
                    emergency services, obtaining medical supplies or medication, or visiting a health care
                    professional.
                 b. For necessary supplies and services. To obtain necessary services or supplies for
                    themselves and their family or household members, or to deliver those services or
                    supplies to others, such as, by way of example only and without limitation, groceries and
                    food, household consumer products, supplies they need to work from home, and
                    products necessary to maintain the safety, sanitation, and essential operation of
                    residences.
                 c. For outdoor activity. To engage in outdoor activity, provided the individuals comply with
                    Social Distancing Requirements, as defined below, such as, by way of example and
                    without limitation, walking, hiking, running, or biking. Individuals may go to public parks
                    and open outdoor recreation areas. However, playgrounds may increase spread of
                    COVID-19 (Coronavirus Disease 2019), and therefore shall be closed.
                 d. For certain types of work. To perform work providing essential products and services at
                    Essential Businesses or Operations (which, as defined below, includes Healthcare and
                    Public Health Operations, Human Services Operations, Essential Governmental
                    Functions, and Essential Infrastructure) or to otherwise carry out activities specifically
                    permitted in this Executive Order, including Minimum Basic Operations.
                 e. To take care of others. To care for a family member, friend, or pet in another household,
                    and to transport family members, friends, or pets as allowed by this Executive Order.
        6.   Elderly people and those who are vulnerable as a result of illness should take additional
             precautions. People at high risk of severe illness from COVID-19 (Coronavirus Disease
             2019), including elderly people and those who are sick, are urged to stay in their residence to
             the extent possible except as necessary to seek medical care. Nothing in this Executive Order
             prevents the Illinois Department of Public Health or local public health departments from
             issuing and enforcing isolation and quarantine orders pursuant to the Department of Public
             Health Act, 20 ILCS (Illinois Compiled Statutes) 2305.
        7.   Healthcare and Public Health Operations. For purposes of this Executive Order, individuals
             may leave their residence to work for or obtain services through Healthcare and Public Health
             Operations.
             Healthcare and Public Health Operations includes, but is not limited to: hospitals; clinics;
             dental offices; pharmacies; public health entities, including those that compile, model, analyze

https://www2.illinois.gov/Pages/Executive-Orders/ExecutiveOrder2020-10.aspx                                   3/12
4/29/2020        Case: 3:20-cv-50153 Document #:Executive
                                                      1-1 Filed:  04/30/20
                                                            Order 2020-10          Page 5 of 10 PageID #:38
                                                                          - Illinois.gov

           and communicate public health information; pharmaceutical, pharmacy, medical device and
           equipment, and biotechnology companies (including operations, research and development,
           manufacture, and supply chain); organizations collecting blood, platelets, plasma, and other
           necessary materials; licensed medical cannabis dispensaries and licensed cannabis cultivation
           centers; reproductive health care providers; eye care centers, including those that sell glasses
           and contact lenses; home healthcare services providers; mental health and substance use
           providers; other healthcare facilities and suppliers and providers of any related and/or ancillary
           healthcare services; and entities that transport and dispose of medical materials and remains.
           Specifically included in Healthcare and Public Health Operations are manufacturers,
           technicians, logistics, and warehouse operators and distributors of medical equipment,
           personal protective equipment (PPE), medical gases, pharmaceuticals, blood and blood
           products, vaccines, testing materials, laboratory supplies, cleaning, sanitizing, disinfecting or
           sterilization supplies, and tissue and paper towel products.
           Healthcare and Public Health Operations also includes veterinary care and all healthcare
           services provided to animals.
           Healthcare and Public Health Operations shall be construed broadly to avoid any impacts to
           the delivery of healthcare, broadly defined. Healthcare and Public Health Operations does not
           include fitness and exercise gyms, spas, salons, barber shops, tattoo parlors, and similar
           facilities.
        8. Human Services Operations. For purposes of this Executive Order, individuals may leave
           their residence to work for or obtain services at any Human Services Operations, including any
           provider funded by the Illinois Department of Human Services, Illinois Department of Children
           and Family Services, or Medicaid that is providing services to the public and including state-
           operated, institutional, or community-based settings providing human services to the public.
           Human Services Operations includes, but is not limited to: long-term care facilities; all entities
           licensed pursuant to the Child Care Act, 225 ILCS (Illinois Compiled Statutes) 10, except for
           day care centers, day care homes, group day care homes, and day care centers licensed as
           specified in Section 12(s) of this Executive Order; residential settings and shelters for adults,
           seniors, children, and/or people with developmental disabilities, intellectual disabilities,
           substance use disorders, and/or mental illness; transitional facilities; home-based settings to
           provide services to individuals with physical, intellectual, and/or developmental disabilities,
           seniors, adults, and children; field offices that provide and help to determine eligibility for basic
           needs including food, cash assistance, medical coverage, child care, vocational services,
           rehabilitation services; developmental centers; adoption agencies; businesses that provide
           food, shelter, and social services, and other necessities of life for economically disadvantaged
           individuals, individuals with physical, intellectual, and/or developmental disabilities, or
           otherwise needy individuals.
           Human Services Operations shall be construed broadly to avoid any impacts to the delivery of
           human services, broadly defined.
        9. Essential Infrastructure. For purposes of this Executive Order, individuals may leave their
           residence to provide any services or perform any work necessary to offer, provision, operate,
           maintain and repair Essential Infrastructure.
           Essential Infrastructure includes, but is not limited to: food production, distribution, and sale;
           construction (including, but not limited to, construction required in response to this public

https://www2.illinois.gov/Pages/Executive-Orders/ExecutiveOrder2020-10.aspx                                    4/12
4/29/2020      Case: 3:20-cv-50153 Document #:Executive
                                                    1-1 Filed:  04/30/20
                                                          Order 2020-10          Page 6 of 10 PageID #:39
                                                                        - Illinois.gov

          health emergency, hospital construction, construction of long-term care facilities, public works
          construction, and housing construction); building management and maintenance; airport
          operations; operation and maintenance of utilities, including water, sewer, and gas; electrical
          (including power generation, distribution, and production of raw materials); distribution centers;
          oil and biofuel refining; roads, highways, railroads, and public transportation; ports;
          cybersecurity operations; flood control; solid waste and recycling collection and removal; and
          internet, video, and telecommunications systems (including the provision of essential global,
          national, and local infrastructure for computing services, business infrastructure,
          communications, and web-based services).
          Essential Infrastructure shall be construed broadly to avoid any impacts to essential
          infrastructure, broadly defined.
      10. Essential Governmental Functions. For purposes of this Executive Order, all first
          responders, emergency management personnel, emergency dispatchers, court personnel, law
          enforcement and corrections personnel, hazardous materials responders, child protection and
          child welfare personnel, housing and shelter personnel, military, and other governmental
          employees working for or to support Essential Businesses and Operations are categorically
          exempt from this Executive Order.
          Essential Government Functions means all services provided by the State or any municipal,
          township, county, subdivision or agency of government and needed to ensure the continuing
          operation of the government agencies or to provide for or support the health, safety and
          welfare of the public, and including contractors performing Essential Government Functions.
          Each government body shall determine its Essential Governmental Functions and identify
          employees and/or contractors necessary to the performance of those functions.
          This Executive Order does not apply to the United States government. Nothing in this
          Executive Order shall prohibit any individual from performing or accessing Essential
          Governmental Functions.
      11. Businesses covered by this Executive Order. For the purposes of this Executive Order,
          covered businesses include any for-profit, non-profit, or educational entities, regardless of the
          nature of the service, the function it performs, or its corporate or entity structure.
      12. Essential Businesses and Operations. For the purposes of this Executive Order, Essential
          Businesses and Operations means Healthcare and Public Health Operations, Human Services
          Operations, Essential Governmental Functions, and Essential Infrastructure, and the following:
              a. Stores that sell groceries and medicine. Grocery stores, pharmacies, certified farmers’
                 markets, farm and produce stands, supermarkets, convenience stores, and other
                 establishments engaged in the retail sale of groceries, canned food, dry goods, frozen
                 foods, fresh fruits and vegetables, pet supplies, fresh meats, fish, and poultry, alcoholic
                 and non-alcoholic beverages, and any other household consumer products (such as
                 cleaning and personal care products). This includes stores that sell groceries, medicine,
                 including medication not requiring a medical prescription, and also that sell other non-
                 grocery products, and products necessary to maintaining the safety, sanitation, and
                 essential operation of residences and Essential Businesses and Operations;
              b. Food, beverage, and cannabis production and agriculture. Food and beverage
                 manufacturing, production, processing, and cultivation, including farming, livestock,
                 fishing, baking, and other production agriculture, including cultivation, marketing,

https://www2.illinois.gov/Pages/Executive-Orders/ExecutiveOrder2020-10.aspx                                5/12
4/29/2020          Case: 3:20-cv-50153 Document #:Executive1-1 Filed:  04/30/20
                                                                 Order 2020-10          Page 7 of 10 PageID #:40
                                                                               - Illinois.gov

                     production, and distribution of animals and goods for consumption; licensed medical and
                     adult use cannabis dispensaries and licensed cannabis cultivation centers; and
                     businesses that provide food, shelter, and other necessities of life for animals, including
                     animal shelters, rescues, shelters, kennels, and adoption facilities;
                 c. Organizations that provide charitable and social services. Businesses and religious and
                     secular nonprofit organizations, including food banks, when providing food, shelter, and
                     social services, and other necessities of life for economically disadvantaged or otherwise
                     needy individuals, individuals who need assistance as a result of this emergency, and
                     people with disabilities;
                 d. Media. Newspapers, television, radio, and other media services;
                 e. Gas stations and businesses needed for transportation. Gas stations and auto-supply,
                     auto-repair, and related facilities and bicycle shops and related facilities;
                  f. Financial institutions. Banks, currency exchanges, consumer lenders, including but not
                     limited, to payday lenders, pawnbrokers, consumer installment lenders and sales finance
                     lenders, credit unions, appraisers, title companies, financial markets, trading and futures
                     exchanges, affiliates of financial institutions, entities that issue bonds, related financial
                     institutions, and institutions selling financial products;
                 g. Hardware and supply stores. Hardware stores and businesses that sell electrical,
                     plumbing, and heating material;
                 h. Critical trades. Building and Construction Tradesmen and Tradeswomen, and other
                     trades including but not limited to plumbers, electricians, exterminators, cleaning and
                     janitorial staff for commercial and governmental properties, security staff, operating
                     engineers, HVAC, painting, moving and relocation services, and other service providers
                     who provide services that are necessary to maintaining the safety, sanitation, and
                     essential operation of residences, Essential Activities, and Essential Businesses and
                     Operations;
                  i. Mail, post, shipping, logistics, delivery, and pick-up services. Post offices and other
                     businesses that provide shipping and delivery services, and businesses that ship or
                     deliver groceries, food, alcoholic and non-alcoholic beverages, goods or services to end
                     users or through commercial channels;
                  j. Educational institutions. Educational institutions—including public and private pre-K-12
                     schools, colleges, and universities—for purposes of facilitating distance learning,
                     performing critical research, or performing essential functions, provided that social
                     distancing of six-feet per person is maintained to the greatest extent possible. This
                     Executive Order is consistent with and does not amend or supersede Executive Order
                     2020-05 (COVID-19 (Coronavirus Disease 2019) Executive Order No. 3) or Executive
                     Order 2020-06 (COVID-19 (Coronavirus Disease 2019) Executive Order No. 4) except
                     that affected schools are ordered closed through April 7, 2020;
                 k. Laundry services. Laundromats, dry cleaners, industrial laundry services, and laundry
                     service providers;
                  l. Restaurants for consumption off-premises. Restaurants and other facilities that prepare
                     and serve food, but only for consumption off-premises, through such means as in-house
                     delivery, third-party delivery, drive-through, curbside pick-up, and carry-out. Schools and
                     other entities that typically provide food services to students or members of the public

https://www2.illinois.gov/Pages/Executive-Orders/ExecutiveOrder2020-10.aspx                                          6/12
4/29/2020         Case: 3:20-cv-50153 Document #:Executive
                                                        1-1 Filed:  04/30/20
                                                              Order 2020-10          Page 8 of 10 PageID #:41
                                                                            - Illinois.gov

                    may continue to do so under this Executive Order on the condition that the food is
                    provided to students or members of the public on a pick-up and takeaway basis only.
                    Schools and other entities that provide food services under this exemption shall not
                    permit the food to be eaten at the site where it is provided, or at any other gathering site
                    due to the virus’s propensity to physically impact surfaces and personal property. This
                    Executive Order is consistent with and does not amend or supersede Section 1 of
                    Executive Order 2020-07 (COVID-19 (Coronavirus Disease 2019) Executive Order No.
                    5) except that Section 1 is ordered to be extended through April 7, 2020;
                m. Supplies to work from home. Businesses that sell, manufacture, or supply products
                    needed for people to work from home;
                n. Supplies for Essential Businesses and Operations. Businesses that sell, manufacture, or
                    supply other Essential Businesses and Operations with the support or materials
                    necessary to operate, including computers, audio and video electronics, household
                    appliances; IT and telecommunication equipment; hardware, paint, flat glass; electrical,
                    plumbing and heating material; sanitary equipment; personal hygiene products; food,
                    food additives, ingredients and components; medical and orthopedic equipment; optics
                    and photography equipment; diagnostics, food and beverages, chemicals, soaps and
                    detergent; and firearm and ammunition suppliers and retailers for purposes of safety and
                    security;
                o. Transportation. Airlines, taxis, transportation network providers (such as Uber and Lyft),
                    vehicle rental services, paratransit, and other private, public, and commercial
                    transportation and logistics providers necessary for Essential Activities and other
                    purposes expressly authorized in this Executive Order;
                p. Home-based care and services. Home-based care for adults, seniors, children, and/or
                    people with developmental disabilities, intellectual disabilities, substance use disorders,
                    and/or mental illness, including caregivers such as nannies who may travel to the child’s
                    home to provide care, and other in-home services including meal delivery;
                q. Residential facilities and shelters. Residential facilities and shelters for adults, seniors,
                    children, and/or people with developmental disabilities, intellectual disabilities, substance
                    use disorders, and/or mental illness;
                 r. Professional services. Professional services, such as legal services, accounting services,
                    insurance services, real estate services (including appraisal and title services);
                s. Day care centers for employees exempted by this Executive Order. Day care centers
                    granted an emergency license pursuant to Title 89, Section 407.400 of the Illinois
                    Administrative Code, governing Emergency Day Care Programs for children of
                    employees exempted by this Executive Order to work as permitted. The licensing
                    requirements for day care homes pursuant to Section 4 of the Child Care Act, 225 ILCS
                    (Illinois Compiled Statutes) 10/4, are hereby suspended for family homes that receive up
                    to 6 children for the duration of the Gubernatorial Disaster Proclamation.
                 t. Manufacture, distribution, and supply chain for critical products and industries.
                    Manufacturing companies, distributors, and supply chain companies producing and
                    supplying essential products and services in and for industries such as pharmaceutical,
                    technology, biotechnology, healthcare, chemicals and sanitization, waste pickup and
                    disposal, agriculture, food and beverage, transportation, energy, steel and steel products,

https://www2.illinois.gov/Pages/Executive-Orders/ExecutiveOrder2020-10.aspx                                     7/12
4/29/2020      Case: 3:20-cv-50153 Document #:Executive
                                                    1-1 Filed:  04/30/20
                                                          Order 2020-10          Page 9 of 10 PageID #:42
                                                                        - Illinois.gov

                 petroleum and fuel, mining, construction, national defense, communications, as well as
                 products used by other Essential Businesses and Operations.
             u. Critical labor union functions. Labor Union essential activities including the administration
                 of health and welfare funds and personnel checking on the well-being and safety of
                 members providing services in Essential Businesses and Operations – provided that
                 these checks should be done by telephone or remotely where possible.
             v. Hotels and motels. Hotels and motels, to the extent used for lodging and delivery or
                 carry-out food services.
             w. Funeral services. Funeral, mortuary, cremation, burial, cemetery, and related services.
      13. Minimum Basic Operations. For the purposes of this Executive Order, Minimum Basic
          Operations include the following, provided that employees comply with Social Distancing
          Requirements, to the extent possible, while carrying out such operations:
             a. The minimum necessary activities to maintain the value of the business’s inventory,
                 preserve the condition of the business’s physical plant and equipment, ensure security,
                 process payroll and employee benefits, or for related functions.
             b. The minimum necessary activities to facilitate employees of the business being able to
                 continue to work remotely from their residences.
      14. Essential Travel. For the purposes of this Executive Order, Essential Travel includes travel for
          any of the following purposes. Individuals engaged in any Essential Travel must comply with all
          Social Distancing Requirements as defined in this Section.
             a. Any travel related to the provision of or access to Essential Activities, Essential
                 Governmental Functions, Essential Businesses and Operations, or Minimum Basic
                 Operations.
             b. Travel to care for elderly, minors, dependents, persons with disabilities, or other
                 vulnerable persons.
             c. Travel to or from educational institutions for purposes of receiving materials for distance
                 learning, for receiving meals, and any other related services.
             d. Travel to return to a place of residence from outside the jurisdiction.
             e. Travel required by law enforcement or court order, including to transport children
                 pursuant to a custody agreement.
              f. Travel required for non-residents to return to their place of residence outside the State.
                 Individuals are strongly encouraged to verify that their transportation out of the State
                 remains available and functional prior to commencing such travel.
      15. Social Distancing Requirements. For purposes of this Executive Order, Social Distancing
          Requirements includes maintaining at least six-foot social distancing from other individuals,
          washing hands with soap and water for at least twenty seconds as frequently as possible or
          using hand sanitizer, covering coughs or sneezes (into the sleeve or elbow, not hands),
          regularly cleaning high-touch surfaces, and not shaking hands.
             a. Required measures. Essential Businesses and Operations and businesses engaged in
                 Minimum Basic Operations must take proactive measures to ensure compliance with
                 Social Distancing Requirements, including where possible:
                     i. Designate six-foot distances. Designating with signage, tape, or by other means
                        six-foot spacing for employees and customers in line to maintain appropriate
                        distance;

https://www2.illinois.gov/Pages/Executive-Orders/ExecutiveOrder2020-10.aspx                                 8/12
4/29/2020     Case: 3:20-cv-50153 Document #: Executive
                                                     1-1 Filed:
                                                            Order 04/30/20        Page 10 of 10 PageID #:43
                                                                  2020-10 - Illinois.gov

                    ii. Hand sanitizer and sanitizing products. Having hand sanitizer and sanitizing
                        products readily available for employees and customers;
                   iii. Separate operating hours for vulnerable populations. Implementing separate
                        operating hours for elderly and vulnerable customers; and
                   iv. Online and remote access. Posting online whether a facility is open and how best
                        to reach the facility and continue services by phone or remotely.
      16. Intent of this Executive Order. The intent of this Executive Order is to ensure that the
          maximum number of people self-isolate in their places of residence to the maximum extent
          feasible, while enabling essential services to continue, to slow the spread of COVID-19
          (Coronavirus Disease 2019) to the greatest extent possible. When people need to leave their
          places of residence, whether to perform Essential Activities, or to otherwise facilitate
          authorized activities necessary for continuity of social and commercial life, they should at all
          times and as much as reasonably possible comply with Social Distancing Requirements. All
          provisions of this Executive Order should be interpreted to effectuate this intent.
      17. Enforcement. This Executive Order may be enforced by State and local law enforcement
          pursuant to, inter alia, Section 7, Section 18, and Section 19 of the Illinois Emergency
          Management Agency Act, 20 ILCS (Illinois Compiled Statutes) 3305.
      18. No limitation on authority. Nothing in this Executive Order shall, in any way, alter or modify
          any existing legal authority allowing the State or any county, or local government body from
          ordering (1) any quarantine or isolation that may require an individual to remain inside a
          particular residential property or medical facility for a limited period of time, including the
          duration of this public health emergency, or (2) any closer of a specific location for a limited
          period of time, including the duration of this public health emergency. Nothing in this Executive
          Order shall, in any way, alter or modify any existing legal authority allowing a county or local
          government body to enact provisions that are stricter than those in this Executive Order.

   Section 2. Order ceasing evictions.

   Pursuant to the Illinois Emergency Management Agency Act, 20 ILCS (Illinois Compiled Statutes)
   3305/7(2), (8), and (10), all state, county, and local law enforcement officers in the State of Illinois
   are instructed to cease enforcement of orders of eviction for residential premises for the duration of
   the Gubernatorial Disaster Proclamation. No provision contained in this Executive Order shall be
   construed as relieving any individual of the obligation to pay rent, to make mortgage payments, or to
   comply with any other obligation that an individual may have under tenancy or mortgage.

   Section 3. Savings clause.

   If any provision of this Executive Order or its application to any person or circumstance is held
   invalid by any court of competent jurisdiction, this invalidity does not affect any other provision or
   application of this Executive Order, which can be given effect without the invalid provision or
   application. To achieve this purpose, the provisions of this Executive Order are declared to be
   severable.

   Issued by the Governor March 20, 2020
   Filed by the Secretary of State March 20, 2020
https://www2.illinois.gov/Pages/Executive-Orders/ExecutiveOrder2020-10.aspx                                   9/12
